       Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 1 of 12



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

TOMMY BADEAUX AND CANDIS                *                        CIVIL ACTION NO. 19-cv-566
LAMBERT, individually and o/b/o NEW     *
ORLEANS SAINTS SEASON TICKET            *
HOLDERS, NEW ORLEANS SAINTS             *                        SECTION E, DIVISION 5
NATIONAL FAN BASE a/k/a THE WHO         *
DAT NATION, ANY PARTY WITH              *
INTEREST THAT HAS BEEN AFFECTED         *                        JUDGE SUSIE MORGAN
BY THE OUTCOME,                         *
                                        *
                        Plaintiffs,     *                        MAGISTRATE JUDGE MICHAEL
                                        *                        NORTH
versus                                  *
                                        *
ROGER GOODELL as COMMISSIONER           *
OF THE NATIONAL FOOTBALL                *
LEAGUE, NATIONAL FOOTBALL LEAGUE *
And NFL PROPERTIES, LLC, Successor -in- *
Interest to NFL PROPERTIES, INC.        *
                                        *
                        Defendants.     *
                                        *
*****************************

 NFL DEFENDANTS’ MEMORANDUM IN OPPOSITION TO MOTION TO REMAND

        The NFL Defendants—the National Football League (“NFL”), NFL Properties LLC

(“NFL Properties”), and Roger Goodell as Commissioner of the NFL (“the Commissioner”;

collectively with the NFL and NFL Properties, “the NFL Defendants”)—provide this

memorandum opposing Plaintiffs’ Motion to Remand (R. Doc. 24). This Court’s removal

jurisdiction is proper under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d). The

Plaintiffs are bound by the allegations of their Petition as filed in state court, and that Petition, filed

in Civil District Court for the Parish of Orleans, State of Louisiana, served on the Commissioner

on January 22, 2019, and titled “Petition for Writ of Mandamus” (herein, “the Petition”)

unequivocally brings claims for damages on behalf of a class of New Orleans Saints season
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 2 of 12



ticketholders, the New Orleans Saints national fan base, and all others “with interest that has been

affected by the outcome [of the NFC Championship Game].” The Petition also presents a matter

in controversy with a sum or value greater than $5 million. Finally, there can be no dispute that

the parties here satisfy CAFA’s requirement of minimal diversity of citizenship. For these reasons,

the NFL Defendants request that this Court deny Plaintiffs’ Motion to Remand.

       Additionally, for the reasons detailed in the NFL Defendants’ Notice of Removal,

Supplement to Notice of Removal, January 27 Brief, and January 28 Post-Hearing Brief,1 the NFL

Defendants request that this Court dismiss Plaintiffs’ suit, with prejudice, and at Plaintiffs’ costs.

I.     The Plaintiffs’ Original Petition Governs.

       As Plaintiffs concede, “[t]o determine whether the Court has jurisdiction, the Court

considers the claims in the state court petition as they existed at the time of removal.”2

Nevertheless, Plaintiffs suggest that, to avoid the CAFA requirements for a class action and for

the amount-in-controversy threshold, they “will stipulate that they are not seeking damages in this

mandamus action.”3 But that is unavailing to them. First, the Fifth Circuit has held that CAFA

“defines class action as any civil action filed under Rule 23 or a state class action statute. Thus,

federal jurisdiction under the statutory provision of CAFA is explicitly concerned with the status

of an action when filed—not how it subsequently evolves.” La. v. Am. Nat. Property Cas. Co.,

746 F.3d 633, 639 (5th Cir. 2014) (internal citations omitted). Second, it is a fundamental standard

of law that, in determining the amount-in-controversy for removal jurisdiction purposes, “post-

removal affidavits, stipulations, and amendments reducing the amount do not deprive the district

court of jurisdiction.” Broussard v. GEICO Cas. Co., 2019 WL 181343, *1 (E.D. La. 1/11/2019)


1
  R. Docs. 1, 6, 17, 19.
2
  Memo in Supp. of Motion to Remand, at 2.
3
  Id. at 5.



                                                 –2–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 3 of 12



(citing Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir. 2000)).4 As discussed below,

the Petition as it existed when filed and at the time of removal clearly alleges a class action for

damages in excess of $5 million.

II.    This Court Has Jurisdiction Under CAFA.

       CAFA provides a basis for federal courts’ original jurisdiction when a Plaintiff’s suit is a

“civil action in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive

of interest and costs, and is a class action in which—(A) any member of a class of plaintiffs is a

citizen of a State different from any defendant[.]” 28 U.S.C. § 1332(d)(2). The Plaintiffs’ Petition

meets each of these requirements.

       A.      Plaintiffs’ Petition is a CAFA Class Action.

       First, the Petition unequivocally is a CAFA “class action.” See 28 U.S.C. § 1332(d)(1)(B)

(defining “class action” to mean “any civil action filed under rule 23 of the Federal Rules of Civil

Procedure or similar State statute or rule of judicial procedure authorizing an action to be brought

by 1 or more representative persons as a class action”).

       In both the preamble paragraph to the Petition and in the Petition’s Prayer for Relief, as

well as in the Petition’s caption, Mr. Badeaux and Ms. Lambert allege that they are bringing the

action in a representative capacity, both “individually and on behalf of New Orleans Saints Season

Ticket Holders, New Orleans Saints National Fan Base a/k/a The Who Dat Nation and any party



4
  During the hearing conducted in this matter on January 28, 2019, Plaintiffs referred this Court to
a recent decision by Judge Feldman allowing a Plaintiffs’ stipulation regarding the amount-in-
controversy to be considered; the recent series of decisions issued by Judge Feldman that Plaintiffs
referred to, however, specifically concerned “a binding pre-removal stipulation” that was “filed
with their petition.” See Jackson v. Denka Performance Elastomer LLC, 2018 WL 5004807, *2
(E.D. La. 10/15/2018) (emphasis added). Here, the only “stipulations” filed with the Petition were
the Plaintiffs’ sworn Verifications, both of which referred explicitly to their Petition as being “for
Writ of Mandamus and/or Class Action Damages.” R. Doc. 1-1, at 7, 8 (emphasis added).



                                                –3–
         Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 4 of 12



with interest that has been affected by the outcome.”5 Moreover, when verifying the allegations of

the Petition in their sworn Verifications, both Mr. Badeaux and Ms. Lambert verified the

allegations of the “Petition for Writ of Mandamus and/or Class Action Damages.”6 On the face

of the Petition, therefore, it was Plaintiffs’ sworn intent to bring their claims as a class and in a

representative capacity.

          In determining whether an action is a “class action” subject to CAFA, courts do not look

to the label applied to the action by a plaintiff but to the substance of what the plaintiffs seek to

effect. See La. ex rel. Caldwell v. Allstate Ins. Co., 536 F.3d 418, 424 (5th Cir. 2008) (“It is true

that the words ‘class action’ or ‘mass action’ do not appear in Louisiana’s complaint. However,

that does not end our inquiry. It is well-established that in determining whether there is jurisdiction,

federal courts look to the substance of the action and not only at the labels that the parties may

attach.”) (citing Grassi v. Ciba-Geigy, Ltd., 894 F.2d 181, 185 (5th Cir. 1990), abrogated on other

grounds, Miss. Ex rel. Hood v. AU Optronics Corp., 571 U.S. 161, 176 (2014). Further, the

determination of whether an action is a “class action” for CAFA purposes does not depend on

whether the analogous state-law class action statute is expressly invoked. Id.; see also Williams v.

Employers Mut. Cas. Co., 845 F.3d 891, 899 (8th Cir. 2017) (holding that CAFA applied to a suit

brought in a representative capacity even though the complaint did not expressly reference a state’s

class action statute but only a state’s substantive statute that did not otherwise provide for suits in

a representative capacity: “If we interpreted ‘any civil action filed under Rule 23’ or a state-law

analogue to refer only to cases that specifically mention Rule 23 or a state-law analogue…, a




5
    Petition, at 1, 4 (R. Doc. 1-1, at 2, 5) (emphasis added).
6
    Petition Verifications (R. Doc. 1-1, at 7, 8) (emphasis added).

                                                  –4–
         Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 5 of 12



plaintiff could avoid federal jurisdiction for a lawsuit that resembles a class action in all respects

simply by omitting from the complaint the name of the rule or statute under which she proceeds.”).

          Mr. Badeaux and Ms. Lambert could only purport to bring their claims in a representative

capacity in Louisiana court, as reflected multiple times in the Petition and in their Verifications,

pursuant to the state analogue to Fed. R. Civ. P. 23, Louisiana Code of Civil Procedure articles

591, et seq. See, e.g., La. C.C.P. art. 592(A) (establishing as the only prerequisite to moving for

certification of a class the filing of an “initial pleading demanding relief on behalf of or against a

class”) (emphasis added). Neither the Louisiana mandamus statute nor any other statute applicable

to the claims pled by Plaintiffs provide an alternative path for bringing their claims in the

representative capacity they seek.

          B.      Plaintiffs and Defendants Comprise CAFA’s Required Minimal Diversity of
                  Citizenship.

          Plaintiffs suggest in their Motion to Remand that the Notice of Removal fails to show

“complete diversity at the time of removal.”7 Unlike the complete diversity requirement of 28

U.S.C. § 1332(a), the diversity of citizenship requirement in CAFA only requires that at least one

Plaintiff be a citizen of a different state from at least one Defendant. 28 U.S.C. § 1332(d)(2)(A);

see also Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 569 (5th Cir. 2011). Additionally,

for CAFA purposes only, the citizenship of unincorporated associations will be deemed to be only

those states where they have their principal place of business and under whose laws they are

organized. 28 U.S.C. § 1332(d)(10).

          During the January 28, 2019 hearing in this matter, Plaintiffs conceded that named

Plaintiffs Mr. Badeaux and Ms. Lambert are domiciliaries and citizens of the State of Louisiana.



7
    R. Doc. 24, at 1.



                                                –5–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 6 of 12



Defendant NFL Properties LLC is a Delaware Limited Liability Company with its principal place

of business in New York City.8 The NFL is an unincorporated association comprised of 32

separately owned and independently operated NFL Member Clubs, with its principal place of

business in New York City, as well.9 The Commissioner also is domiciled in and a citizen of New

York.10 Accordingly, because the NFL Defendants are all citizens of New York (and, additionally

as to NFL Properties LLC, Delaware), while Mr. Badeaux and Ms. Lambert are citizens of

Louisiana, CAFA’s requirement of minimal diversity is met.

       C.      Plaintiffs’ Petition Meets CAFA’s $5 Million Amount-In-Controversy
               Threshold.

       The final element for CAFA jurisdiction is that “the matter in controversy” alleged in the

Petition “exceeds the sum or value of $5,000,000[.]” 28 U.S.C. § 1332(d)(2). “The required

demonstration concerns what the plaintiff is claiming (and thus the amount in controversy between

the parties), not whether the plaintiff is likely to win or be awarded everything he seeks.” Robertson

v. Exxon Mobil Corp., 814 F.3d 236, 240 (5th Cir. 2015) (internal quotation marks omitted).

       Where, as here, the case is removed from a state jurisdiction that does not require
       the plaintiff to specifically plead the amount in controversy, the defendant may
       satisfy this burden by demonstrating that it is ‘facially apparent’ from the petition
       that the claims are above the jurisdictional amount. Under these circumstances, the
       defendant need not prove the jurisdictional amount to a legal certainty. It is enough
       that the defendant demonstrates that the plaintiff's claim ‘more likely than not’
       meets the jurisdictional requirement.




8
  See R. Doc. 1, at ¶ 7; see also Citation for Service (R. Doc. 1-1, at 11) (identifying the address
of the NFL’s “corporate offices”).
9
  See R. Doc. 1, at ¶ 7; see also Clarett v. NFL, 306 F. Supp. 2d 379, 383 (S.D.N.Y. 2004).
10
   The NFL Defendants did not allege the Commissioner’s citizenship in the initial Notice of
Removal, since the diversity of any one Defendant from any one Plaintiff is sufficient to establish
CAFA’s minimal diversity. However, during conference in chambers on the evening of January
28, 2019, this Court granted Defendants leave to file a Supplement to the Notice of Removal
containing the citizenship allegations for the Commissioner, as well. See R. Doc. 19, at ¶ 7a; see
also R. Doc. 21.

                                                –6–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 7 of 12



JMCB, LLC v. Bd. of Commerce & Indus., 293 F. Supp. 3d 580, 587 (M.D. La. 2017) (internal

citations and quotation marks omitted). “If it is not apparent from the face of the complaint, then

the court may rely on summary judgment type evidence to ascertain the amount in controversy.”

Royal Alice Properties, LLC v. Atkins, 2013 WL 4434951, *4 (E.D. La. 8/14/2013). “[T]hat the

removing party bears the burden of proving the amount in controversy does not mean that the

removing party cannot ask the court to make common-sense inferences about the amount put at

stake by the injuries the plaintiffs claim.” Robertson, 814 F.3d at 240.

       As with the existence of a “class action,” the Plaintiffs’ Petition establishes that the

controversy pled in the Petition meets the amount-in-controversy requirement of CAFA.

Plaintiffs’ Verifications confirm that their Petition is, in part, a Petition “for Class Action

Damages.”11 The various categories of damages and remedies set forth in Plaintiffs’ Petition each

independently support that the CAFA amount-in-controversy threshold is exceeded. The first

category consists of Plaintiffs’ allegation of “monetary loss for ticket holders, who purchased

tickets with the presumption of integrity and fairness[.]” Petition, ¶ 8. As NFL Executive Vice

President and Chief Financial Officer Joseph Siclare attested, “The average ticket price to attend

the 2019 National Football Conference Championship Game in New Orleans, Louisiana, on

January 20, 2019, was approximately $230,” with more than 72,000 ticketholders attending the

game.12 Notably, Plaintiffs do not dispute this $230 per ticketholder measure of the amount in

controversy, but merely rely on their post-removal assertion that a class action was not pled,

arguing that the amount-in-controversy from this item of damages could only be $460.13 However,

as discussed above, the Petition plainly states that it is brought by the named Plaintiffs not just



11
   R. Doc. 1-1, at 7, 8.
12
   Affidavit of Joseph Siclare (Jan. 25, 2019), at ¶ 2 (R. Doc. 1-2, at 3).
13
   R. Doc. 24-1, at 7.

                                                 –7–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 8 of 12



“individually,” but also “on behalf of,” among others, “New Orleans Saints Season Ticket

Holders.” Accordingly, just this one category of damages for “monetary loss for ticket holders,”

alleged on the face of the Petition, is more than $16.5 million, more than three times the CAFA

threshold. The Court need look no further to examine the CAFA amount-in-controversy.

       In addition to this category of damages, Plaintiffs categorize six other types of compensable

injuries they claim to have suffered: “[p]ast, present and future mental anguish and emotional

trauma”; “[p]ast, present and future loss of faith in the National Football League”; “[p]ast, [p]resent

and future loss of enjoyment of life”; “[p]resent and future loss of entertainment”; “[d]istrust of

the game which has become the National pastime”; and “[o]ther damages itemized at the trial of

this matter.” Petition, ¶ 11(a)-(g). While the class of “New Orleans Saints National Fan Base a/k/a

The Who Dat Nation” may be difficult to ascertain, just one change.org petition promoting exactly

the same relief sought in Plaintiffs’ lawsuit—a common-sense barometer of how many people may

be in the “Who Dat Nation,” at least as to this particular issue—contained 760,569 signatures.14 If

that number is indicative of the “Who Dat Nation” class, then the six categories of damages would

need to only average $6.57 per person to reach CAFA’s $5 million threshold.15

       Finally, in the first paragraph of the Petition’s Prayer for Relief, Plaintiffs request “interest

thereon”—which wholly undermines any post-removal representation that they have not been

seeking damages; there could not be an award of interest without principal.16 In a second paragraph



14
      https://www.change.org/p/we-want-an-nfc-championship-rematch-sunday-jan-27-after-refs-
missed-call.
15
   Admittedly, taking the Plaintiffs’ allegations and applying logic and common sense as directed
by Robertson devolves into something that feels absurd, but as noted above the required
demonstration concerns what the plaintiff is claiming (and thus the amount in controversy between
the parties), not whether the plaintiffs are likely to win or be awarded everything they seek, and
allows for this Court’s application of “common sense.” Robertson, 814 F.3d at 240.
16
   Petition Prayer for Relief, R. Doc. 1-1, at 5.



                                                 –8–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 9 of 12



in the Petition’s Prayer for Relief, following their request for judgment on their claims “together

with interest thereon,” Plaintiffs “further prays” [sic] for mandamus relief.17 Plaintiffs could not

separately and “further” pray for a writ of mandamus were they not also praying for something

else; here, a monetary judgment with interest thereon.

       Independently, the value of the mandamus relief sought by Plaintiffs in their Petition, the

rescheduling of the NFC Championship game or some portion thereof,18 is well in excess of

CAFA’s $5 million threshold, based on the costs associated with organizing and re-playing all or

a portion of the NFC Championship Game and the delays this would necessarily cause in

conducting Super Bowl LIII. See Affidavit of Joseph Siclare, at ¶ 3; see also Royal Alice

Properties, 2013 WL 4434951 at *4 (calculating the value of the requested mandamus relief for

purposes of jurisdictional amount-in-controversy); Hamp’s Constr., LLC v. Tag-Miss. Enters.,

LLC, 2009 WL 2356671, *2-3 (E.D. La. 7/27/2009) (valuing damages and requested injunctive

relief separately for determining amount in controversy); Cheek v. Horton, 2008 WL 3500369, *2

(E.D. La. 8/11/2008) (“According to the Supreme Court, in cases seeking equitable relief, such as

an accounting, it is well established that the amount in controversy is measured by the value of the

object of the litigation.”) (internal quotation marks and citations omitted); Waters v. Ferrara

Candy Co., 873 F.3d 633, 634 (8th Cir. 2017) (considering the value of “unspecified injunctive

relief” in determining the amount in controversy).19 Thus, entirely independent of the damages




17
   Id.
18
   Plaintiffs seek “a writ of mandamus be ordered by th[e] Court[,]” Petition at 4 (Prayer for Relief),
presumably to direct Mr. Goodell as Commissioner of the NFL to reverse the Game’s result or to
reschedule the Game either from its “‘beginning or from the point at which the extraordinary act
occurred.’” Petition, ¶ 4 (quoting NFL Rule 17, § 2, Art. 3).
19
   Plaintiffs also seek the further catch-all category of “all general and equitable relief.” Petition,
Prayer for Relief.



                                                 –9–
      Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 10 of 12



claims sought by Plaintiffs, the value of the requested mandamus relief renders it facially apparent

from the Petition that the total amount-in-controversy exceeds CAFA’s $5 million threshold.20

And when combined with all of the relief sought by Plaintiffs, it eclipses that threshold by several

multiples.21

       As to the value of the mandamus relief sought by Plaintiffs in their original Petition, they

argue that the “plaintiff’s viewpoint” should control.22 First, after arguing that, they then offer no

competing viewpoint as to value of the relief they seek. Their argument that the ticketholder

damages are only $460 is actually not a countervailing viewpoint on the amount-in-controversy,

as it concedes the $230-per-ticketholder amount but only rests on the mistaken belief that the

remainder of the class should not be included in the calculation. And as to the value of mandamus

relief, they actually have confirmed post-removal that the value of the mandamus relief is—as

attested by Mr. Siclare—the costs in delaying the Super Bowl, when they argued in their July 28

Brief that the “opportunity to exercise this right [to participate in a pool for Super Bowl tickets]

will be lost forever if the Super Bowl is played as currently scheduled between the Rams and the

Patriots on Sunday, February 3, 2019.”23 As the Fifth Circuit has held, whether to apply the

plaintiff-viewpoint rule is not a question that needs to be answered where the facts of a case show

that “it does not matter from which viewpoint the amount in controversy is viewed.” Garcia v.



20
   Plaintiffs mistakenly assert that the NFL Defendants argue that the value of the requested
mandamus relief is the full $100 million investment in conducting Super Bowl LIII. Instead,
Defendants have only argued, and Mr. Siclare’s affidavit supports, that the costs of delaying such
an extensive undertaking is in excess of $5 million.
21
   Furthermore, Plaintiffs’ Petition does not fit within either of the exceptions to CAFA jurisdiction
at 28 U.S.C. §§ 1332(d)(3) or (4). Both of them require that a defendant be “a citizen of the State
in which the action was originally filed,” in addition to meeting other requirements. Under the
citizenship definition applicable under 28 U.S.C. § 1332(d)(10), none of the NFL Defendants are
in-state Defendants, so neither of these exceptions to CAFA will apply.
22
   R. Doc. 24-1, at 5-6.
23
   R. Doc. 11, at 11 (emphasis added).

                                                –10–
        Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 11 of 12



Koch Oil Co. of Texas Inc., 351 F.3d 636, 639 (5th Cir. 2003). This is just such a case, where

“viewpoint” does not change the correct amount-in-controversy analysis. “Plaintiff viewpoint”

does not allow Plaintiffs to make a post-removal attempt to reduce the amount in controversy.

          Second, all of the cases cited by Plaintiffs for the plaintiff-viewpoint rule are injunction

cases, not mandamus cases, and Plaintiffs’ counsel very unequivocally disclaimed during the

January 28 hearing that Plaintiffs were seeking injunctive relief. The only mandamus-relief case

cited to the court is Royal Alice Properties, LLC v. Atkins, 2013 WL 4434951, *4 (E.D. La.

8/14/2013). In that matter, the party determined by the court to be the real defendant party in

interest, Jones film, put forth evidence of what the value of the requested mandamus relief in that

case would be to it; and based on the defendant’s evidence of the value of the mandamus relief the

court denied the plaintiffs’ motion for remand. Id. Regardless, here—both because the amount-in-

controversy as to the ticketholders’ “monetary loss” in the Petition is objectively calculable based

on a per-ticketholder amount conceded by Plaintiffs themselves, and because the Plaintiffs actually

provide no separate “viewpoint” as to the value of the mandamus relief as pled in the Petition—

this Court may exercise its authority under Robertson, 814 F.3d at 240, to “make common-sense

inferences about the amount put at stake by the injuries the plaintiffs claim” and to find the amount-

in-controversy met here.

III.      Conclusion
          For these reasons, as well as those detailed in the NFL Defendants’ Notice of Removal,

Supplement to Notice of Removal, January 27 Brief, and January 28 Post-Hearing Brief,24 the NFL

Defendants request that this Court deny Plaintiffs’ Motion to Remand, and further, dismiss

Plaintiffs’ suit, with prejudice, and at Plaintiffs’ costs.


24
     R. Docs. 1, 6, 17, 19.


                                                  –11–
     Case 2:19-cv-00566-SM-MBN Document 28 Filed 01/30/19 Page 12 of 12



                              Respectfully submitted,

                              /s/ H.S. Bartlett III
                              Gladstone N. Jones, III (La. Bar No. 22221)
                              H.S. Bartlett III (La. Bar No. 26795)
                              Lynn E. Swanson (La. Bar No. 22650)
                              Peter N. Freiberg (La. Bar No. 22912)
                              Jones, Swanson, Huddell & Garrison, L.L.C.
                              601 Poydras Street, Suite 2655
                              New Orleans, Louisiana 70130
                              Telephone: (504) 523-2500
                              Facsimile: (504) 523-2508
                              Attorneys for the NFL Defendants


                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above pleading was served on counsel of record by

filing in this Court’s CM/ECF System, on this date, the 30th day of January, 2019.


                                                     H.S. Bartlett III
                                                     H.S. Bartlett III




                                              –12–
